            Case 2:23-cv-04135-TJS Document 4 Filed 10/30/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILL KATZ and MICHAEL KATZ, As                    :          CIVIL ACTION
Administrators of the Estate of                   :
Sarah Katz, Deceased`                             :
                                                  :
       v.                                         :
                                                  :
PANERA BREAD                                      :
COMPANY and PANERA, LLC                           :          NO. 23-4135

                                             ORDER

       NOW, this 30th day of October, 2023, upon consideration of the application of

Gregory T. Sturges, Esquire, to admit Lori G. Cohen, Esquire, pro hac vice (Doc. No. 3),

it is ORDERED that the application is DENIED WITHOUT PREJUDICE. 1




1
 The motion fails to set forth grounds why Panera Bread Company and Panera LLC desire Lori G. Cohen,
Esquire to represent them and why the applicant is especially qualified to do so. See Judge Savage’s
Policies and Procedures at www.paed.uscourts.gov/judges-info/district-court-judges/timothy-j-savage.
